_¥

AO 442 (REV. 12/85)

 

UNITED STATES DISTRICT COURT onanor7
WESTERN DISTRICT OF TEXAS, EL PASO DIVISION oer U.S, District Court
estern District of Texas
By: RRV
Deputy
USA §
§ CRIMINAL COMPLAINT
vs. § CASE NUMBER: EP:17-M -04462(1) - MAT
§
(1) NATIVIDAD ZAVALA-ZAVALA §

I, the undersigned complainant being duly sworn state the following is true and correct to the best
of my knowledge and belief. On or about 10/22/2017 in EL Paso county, in the WESTERN DISTRICT OF
TEXAS defendant did, being an alien to the United States, knowingly enter and attempt to enter the United
States at a time and place other than as designated by immigration officers in violation of Title 8 United
States Code, Section(s) 1325( a)(i1).

I further state that I am a(n) Border Patrol Agent and that this complaint is based on the
following facts: “The Defendant, Natividad ZAVALA-Zavala, an alien to the United States and a citizen of
Honduras, entered the United States from the Republic of Mexico by wading the Rio Grande River
approximately 1.46 miles west of the Paso Del Norte Port of Entry in El Paso, Texas on October 22, 2017, in
the Western District of Texas. The place where the Defendant entered is not designated as a Port of Entry by
immigration officers."

Continued on the attached sheet and made a part of hereof:

 

Sworn to before me and subscribed in my presence,

 

Signature of Complainant
Heredia, Frank A.
Border Patrol Agent

 

 

10/24/2017 at EL PASO, Texas
File Date City and State
if
MIGUEL A. TORRES te

 

 

UNITED STATES MAGISTRATE JUDGE Signatuke of Judicial Officer
CONTINUATION OF CRIMINAL COMPLAINT
WESTERN DISTRICT OF TEXAS

(1) NATIVIDAD ZAVALA-ZAVALA

FACTS (CONTINUED)

The Defendant, Natividad ZAVALA-Zavala, an alien to the United States and a citizen of Honduras, entered
the United States from the Republic of Mexico by wading the Rio Grande River approximately 1.46 miles west
of the Paso Del Norte Port of Entry in El Paso, Texas on October 22, 2017, in the Western District of Texas.
The place where the Defendant entered is not designated as a Port of Entry by immigration officers.

On October 22, 2017, at approximately 9:50 p.m., Border Patrol Agent James R. Lowry observed fourteen
individuals cross the Rio Grande River approximately 1.46 miles west of the Paso Del Norte Port of Entry in El
Paso, Texas. The Rio Grande River serves as the U.S./Mexico International Boundary. Agent Lowry
approached the individuals, identified himself as a United States Border Patrol Agent, and questioned them
as to their citizenship. One of the individuals was later identified as the DEFENDANT, ZAVALA-Zavala,
Natividad, admitted to being a citizen of Honduras and to making an Illegal entry into the United States. After
a brief interview, it was determined that the DEFENDANT was not in possession of any immigration
documents allowing him to enter, be, or remain in the United States legally. The DEFENDANT was
transported to the Paso Del Norte Border Patrol Processing Center for processing. The DEFENDANT was
enrolled into the E3/IDENT/NGI system utilizing her fingerprints and photo. The system identified the
DEFENDANT and revealed no immigration and negative criminal history. The DEFENDANT was read her rights
as per Form I-214 in the Spanish language, which she acknowledged that she understood by signing the
form. Because this affidavit is being submitted for the limited purpose of establishing probable cause as set
forth herein, I have not included each and every fact known to me concerning this investigation.

IMMIGRATION HISTORY:
NONE

CRIMINAL HISTORY:
NONE
